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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION


   BILLY FARRIS,                                    §
                                                    §
                   Plaintiff,                       §
                                                    §
   v.                                               §   CIVIL ACTION NO. 6:17-CV-00301-RWS
                                                    §
   BEN E. KEITH COMPANY,                            §
                                                    §
                   Defendant.                       §

                            DEFENDANT’S MOTION TO STRIKE
                 PLAINTIFF’S RESPONSE EVIDENCE AND BRIEF IN SUPPORT

          Defendant Ben E. Keith Company (“BEK”) files this Motion to Strike (“Motion”)

   evidence referenced in and attached to Plaintiff Billy Farris’s (“Farris”) Response to Motion for

   Summary Judgment and Brief in Support of Said Response Motion (“Response”) [Doc. No. 116]

   and states:


   I.     INTRODUCTION

           As set forth in BEK’s Motion for Summary Judgment [Doc. No. 106], BEK terminated

   Farris’s employment on October 20, 2015, for insubordination—following multiple counseling

   sessions and corrective action notices—and his failure to follow company directives.

   II.    THE DECLARATIONS

          Farris attached as Exhibit B to his Response four declarations (the “Declarations”) of

   three former and one current BEK employee. Except for the names of the declarants, the

   Declarations are verbatim identical and state:

                  I, [declarant’s name], am over the age of 18, am competent to testify to the
                  following from my personal experience and knowledge, and declare as
                  follows:
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                1. I was an employee of Ben E. Keith Company in Palestine, Texas.

                2. Andrew Gregory was the manager at the facility.

                3. Black/african american [sic] employees were treated as second class
                citizens, such as being past [sic] over for promotion by the white
                employees, not provided adequate help on the trucks as were the white
                employees, black/african american [sic] employees were terminated for
                false reasons, allowing white employees to attend drug rehab programs,
                and allowing white employees to keep job despite having violated company
                policies.

                I declare under penalty for perjury that the foregoing is true and correct.

   [Doc. No. 116-2].

           As the following shows, these statements are not based on the declarants’ personal

   knowledge and/or are only opinion and not factual. Thus, these statements are inadmissible

   under Fed. R. Civ. P. 56(c)(4) and should be stricken.

   III.   ARGUMENT

          A.     The Standard for Competent Summary Judgment Evidence.

          Rule 56(c)(4) requires declarations to: (1) be made on personal knowledge; (2) set forth

   facts that would be admissible in evidence; and (3) show affirmatively that the affiant is

   competent to testify to the matters stated in the declaration. Marshall v. East Carroll Parish

   Hosp. Serv. Dist., 134 F.3d 319, 324 (5th Cir. 1998); see also Broad. Music, Inc. v. Midtown

   Beverage, LLC, 2013 WL 3554406, at *2 (S.D. Tex. July 11, 2013). Further, declarations

   containing ultimate or conclusory facts, conclusions of law, speculation, and/or unsubstantiated

   assertions are insufficient to defeat a motion for summary judgment.          Clark v. America’s

   Favorite Chicken Co., 110 F.3d 295, 297 (5th Cir. 1997); Duffy v. Leading Edge Products, Inc.,

   44 F.3d 308, 312 (5th Cir. 1995); Salas v. Carpenter, 980 F.2d 299, 305 (5th Cir. 1992);

   Olabisiomotosho v. City of Houston, 185 F.3d 521, 525 (5th Cir. 1999); Galindo v. Precision

   Am. Corp., 754 F.2d 1212, 1216 (5th Cir. 1985); Gray v. Sage Telecom, Inc., 2006 WL 2820075,


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   at *5 (N.D. Tex. Oct. 2, 2006) aff'd, 253 Fed. App'x 402 (5th Cir. 2007)(striking portions of

   declaration with conclusory statements of fact). A declaration that does not comport with these

   requirements “is legally insufficient and entitled to no weight.” Carney v. United States, 2004

   WL 1285037, at *12 (N.D. Tex. June 9, 2004).

          B.      The Declarations Should Be Stricken as Not Competent Summary Judgment
                  Evidence.

          For the following reasons, the third paragraph of the Declarations of Messrs. Mims

   (“Mims”), Cook (“Cook”), McNaughton (“McNaughton”), and McKinley (“McKinley”) should

   be stricken:

                  1. The Mims Declaration

          BEK terminated Mims’s employment on December 30, 2008—seven years before

   Farris’s termination. Accordingly, and as Mims conceded in his deposition:

                 He has no personal knowledge of how promotions occurred after his departure

                  from BEK in 2008;

                 He has no personal knowledge of how helpers were assigned after his departure

                  from BEK in 2008;

                 He has no personal knowledge of BEK’s drug rehabilitation process after his

                  departure from BEK in 2008;

                 He has no personal knowledge of white employees who kept their jobs despite

                  having violated company policy—after his departure from BEK in 2008; and

                 He has no personal knowledge—only opinions, not facts—regarding Farris’s

                  termination.

   App. 200-201 (Mims Dep., pp. 52:16-54:19; 55:6-16). Therefore, because Mims lacks personal

   knowledge of any of the statements in paragraph 3 of his Declaration and it should be stricken.


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                 2. The Cook Declaration

          Cook, a current BEK warehouse employee, conceded the following in his deposition:

                He has no personal knowledge—only opinions—regarding the factors evaluated

                 when decision-makers at BEK would promote or move an employee into a new

                 position;

                He has no personal knowledge—only opinions—regarding whether helper

                 assignments were based on race;

                He has no personal knowledge—only beliefs and/or opinions—regarding whether

                 African American employees were terminated for false reasons;

                He is not aware of any African American employees who ever failed a drug test

                 or asked to attend a drug rehabilitation program;

                He has no personal knowledge of the discipline other employees may have

                 received;

                He has no personal knowledge—only beliefs and/or opinions—regarding whether

                 white employees “got away” with infractions that African American employees

                 did not; and

                He has no personal knowledge of white employees who were allowed to keep

                 their jobs after violating company policies.

   App. 311; 317-320; 323 (Cook Dep., pp. 44:7-18; 69:18-70:3; 70:4-15; 70:16-72:21; 72:22-74:4;

   78:8-78:22; 80:2-5; 92:8-17). Because Cook lacks personal knowledge of any of the statements

   in paragraph 3 of his Declaration, and/or they are based solely upon opinion and not fact, they

   are inadmissible. Accordingly, paragraph 3 of his Declaration should be stricken.



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                    3.       The McNaughton Declaration

           BEK terminated McNaughton on October 13, 2014. As he conceded, he has:

                   No personal knowledge—only opinions—regarding whether African American

                    employees were treated differently than Caucasian employees;

                   No personal knowledge—only opinions—regarding whether promotions were

                    awarded on the basis of race;

                   No personal knowledge—only opinions—regarding whether helper assignments

                    were determined or assigned based on the race of the driver;

                   No personal knowledge—only opinions—regarding whether African American

                    employees were terminated for false reasons;

                   No     personal     knowledge—only           opinions—regarding         whether      Caucasian

                    employees were allowed to attend drug rehabilitation programs; and

                   No     personal     knowledge—only           opinions—regarding         whether      Caucasian

                    employees were allowed to keep their jobs despite having violated company

                    policies.

   (Declaration of Troy McNaughton attached hereto as Exhibit A). Because McNaughton lacks

   personal knowledge of the statements in paragraph 3 of his Declaration and/or they are opinions

   or conclusions, it should be disregarded.

                    4.       The “Amended” McKinley Declaration1

           BEK terminated McKinley’s employment on April 30, 2014. Therefore, and as he

   conceded in his deposition:




   1 The Court will recall that Farris forged McKinley’s original Declaration. [Doc. No. 60]. BEK has no way of
   knowing definitely whether the Amended McKinley Declaration is genuine or also forged.


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                He has no personal knowledge of the circumstances that led to Farris’s

                 termination;

                He has no personal knowledge of the factors evaluated when making any

                 promotion decision in connection with a Caucasian employee being promoted

                 over an African American employee because he was not present in the room when

                 the decision was made;

                He has no personal knowledge of the criteria BEK used when assigning helpers;

                He has no personal knowledge of whether the individuals he believes may have

                 been terminated for false reasons were in fact terminated for valid reasons;

                He has no personal knowledge—only beliefs and/or opinions—regarding whether

                 any BEK employee received a DWI and asked to go to alcohol rehabilitation and

                 was denied; and

                Regarding the allegation that BEK allowed white employees to keep their jobs

                 despite having violated company policies, McKinley testified about a group of

                 employees who played golf on company time without permission. He further

                 testified that he has no personal knowledge—only opinions and/or beliefs—

                 regarding how the subject employees were disciplined, if at all.

   App. 215, 218-219, 223, 225, 227, 228, (McKinley Dep., pp. 39:17-40:5; 51:12-15, 54:12-56:19,

   72:7-9, 72:24-73:16, 80:16-81:16 89:13-22, 92:5-93:12). Thus, Mr. McKinley does not have

   personal knowledge of any of the statements in paragraph 3 of his Declaration or they are based

   upon opinion and not fact or are mere conclusions. Accordingly, paragraph 3 of the Amended

   McKinley Declaration should also be stricken.




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   IV.    CONCLUSION

          For the reasons stated above, BEK respectfully requests that this Court strike paragraph 3

   of the Declarations of Messrs. Cook, Mims, McNaughton, and McKinley from Exhibit B to

   Farris’s Response [Doc. No. 116-2].

                                               Respectfully submitted,

                                               Ogletree, Deakins, Nash, Smoak & Stewart, P.C.

                                               By:        /s/ Gary D. Eisenstat
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                                               ATTORNEYS FOR DEFENDANT
                                               BEN E. KEITH COMPANY



                               CERTIFICATE OF CONFERENCE

           In compliance with Local Rule CV-7(h), on December 13, 2017, counsel for Defendant
   conferred with counsel for Plaintiff by telephone and email regarding the foregoing Motion to
   Strike Plaintiff’s Response Evidence and Brief in Support. Counsel for Plaintiff indicated, via
   email, that the Motion is opposed.

                                                              /s/ Andrew J. Magid
                                                              Andrew J. Magid




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                               CERTIFICATE OF SERVICE

        I hereby certify that on December 13, 2017, a true and correct copy of the foregoing
   document was served via the Court’s e-filing system to all parties of record.


                                        /s/ Gary D. Eisenstat
                                       GARY D. EISENSTAT

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